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AO 245B (Rev. 11/16) Sheet 1 - Judgment in a Criminal Case




                                         UNITED STATES DISTRICT COURT
                                                             District of Minnesota

UNITED STATES OF AMERICA                                                    §     JUDGMENT IN A CRIMINAL CASE
                                                                            §
v.                                                                          §
                                                                            §     Case Number: 0:20-CR-00245-WMW-HB(1)
RICHARD ALONZO WOODS                                                        §     USM Number: 16521-041
                                                                            §     Daniel L. Gerdts
                                                                            §     Defendant’s Attorney

THE DEFENDANT:
☒ pleaded guilty to Counts 1, 2, 3, 4, 5 and 8.
☐ pleaded nolo contendere to count(s) which was accepted by the court
☐ was found guilty on count(s) after a plea of not guilty

The defendant is adjudicated guilty of these offenses:
Title & Section / Nature of Offense                                                                      Offense Ended      Count
18:2 and 1951 AIDING AND ABETTING INTERFERENCE WITH COMMERCE BY ROBBERY                                  05/18/2018         1
18:2113(a) and 2113(d) ARMED BANK ROBBERY                                                                05/18/2018         2
18:2113(a) and 2113(d) ARMED BANK ROBBERY                                                                05/18/2018         3
18:924(c)(1)(A)(ii) CARRYING A FIREARM DURING AND IN RELATION TO A CRIME OF                              05/18/2018         4
VIOLENCE
18:924(c)(1)(A)(ii) CARRYING A FIREARM DURING AND IN RELATION TO A CRIME OF                              05/18/2018         5
VIOLENCE
18:371, 2113(a), and 2113(d) CONSPIRACY – ARMED BANK ROBBERY                                             05/18/2018          8

The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

☐ The defendant has been found not guilty on count(s)
☒ Counts 6, 7, and 9 of the Indictment. ☐ is ☒ are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States Attorney for the District of Minnesota within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and the United States Attorney for the District of
Minnesota of material changes in economic circumstances.


                                                                     March 16, 2022
                                                                     Date of Imposition of Judgment




                                                                     s/Wilhelmina M. Wright
                                                                     Signature of Judge

                                                                     WILHELMINA M. WRIGHT
                                                                     UNITED STATES DISTRICT JUDGE
                                                                     Name and Title of Judge

                                                                     May 5, 2022
                                                                     Date



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AO 245B (Rev. 11/16) Sheet 2 - Imprisonment
DEFENDANT:                    RICHARD ALONZO WOODS
CASE NUMBER:                  0:20-CR-00245-WMW-HB(1)

                                                           IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

Counts 1, 2, 3, and 8 are to run concurrently. 132 months as to count 1; 132 months as to count 2; 132 months as to count 3; 60
month(s) as to count 8. Counts 1-3 and Count 8 are to run concurrently with 18-cr-0153 (WMW/HB).
Counts 4 and 5 are to run consecutively. 84 months as to count 4; 84 months as to count 5. These sentences are to be served
consecutively to each other, for a total of 168 months, and consecutively to the concurrent sentence imposed for Counts 1, 2, 3 and 8,
for a total prison term of 300 months. Counts 1-5 and Count 8 are to run consecutively with 12-cr-0131 (SRN/JJK).

☒ The court makes the following recommendations to the Bureau of Prisons:
          The defendant is recommended to be incarcerated at FCI Herlong, California.



☒ The defendant is remanded to the custody of the United States Marshal.
☐ The defendant shall surrender to the United States Marshal for this district:

          ☐ at                                           on

          ☐ as notified by the United States Marshal.

☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          ☐ before                         on
          ☐ as notified by the United States Marshal.
          ☐ as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
I have executed this judgment as follows:


          Defendant delivered on                                        to


at                                            , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL

                                                                                                      By
                                                                                          DEPUTY UNITED STATES MARSHAL




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AO 245B (Rev. 11/16) Sheet 3 – Supervised Release
DEFENDANT:                    RICHARD ALONZO WOODS
CASE NUMBER:                  0:20-CR-00245-WMW-HB(1)

                                                     SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: three (3) years terms as to Counts 1
and 8 to run concurrently with five (5) years terms as to Counts 2, 3, 4, and 5.



                                                    MANDATORY CONDITIONS

 1.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance.
 3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
      from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
           ☐ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                 substance abuse. (check if applicable)
 4.   ☒    You  must   make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
           of restitution. (check if applicable)
 5.   ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 6.   ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
           seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
           you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 7.   ☐ You must participate in an approved program for domestic violence. (check if applicable)
 8. ☒ You must pay the assessment imposed in accordance with Title 18, United States Code, Section.
      You must notify the Court of any material change in your economic circumstances that might affect your ability to pay
 9. ☒
      restitution, fines, or special assessments.


         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.




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AO 245B (Rev. 11/16) Sheet 3A – Supervised Release
DEFENDANT:                    RICHARD ALONZO WOODS
CASE NUMBER:                  0:20-CR-00245-WMW-HB(1)

                                  STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
      notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
      officer within 72 hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
      officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
      from doing so. If you do not have full-time employment, you must try to find full-time employment, unless the probation officer
      excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
      10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
      the probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
      without first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at www.uscourts.gov.

Defendant's Signature __________________________________________________                       Date ______________________

Probation Officer's Signature ____________________________________________                     Date ______________________




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AO 245B (Rev. 11/16) Sheet 3D – Supervised Release
DEFENDANT:                    RICHARD ALONZO WOODS
CASE NUMBER:                  0:20-CR-00245-WMW-HB(1)

                                     SPECIAL CONDITIONS OF SUPERVISION

     a) You must submit to substance abuse testing as approved and directed by the probation officer.

     b) You must submit yourself, your residence, office, vehicle, or an area under your control to a search conducted by
        a United States Probation Officer or supervised designee, at a reasonable time and in a reasonable manner, based
        upon reasonable suspicion of contraband or evidence of a supervision violation. You must warn any other
        residents or third parties that the premises and areas under your control may be subject to searches pursuant to this
        condition.

     c) You must participate in a psychological or psychiatric counseling or treatment program, as approved by the
        probation officer. Further, you must contribute to the costs of such treatment as determined by the Probation
        Office Co-Payment Program not to exceed the total cost of treatment.

     d) You must take any prescribed medications as directed by a medical provider.

     e) If not employed at a regular lawful occupation, as deemed appropriate by the probation officer, you may be
        required to perform up to 20 hours of community service per week until so employed. You also may be required
        to participate in training, counseling, daily job search, or other employment-related activities, as directed by the
        probation officer.

     f) You must provide the probation officer access to any requested financial information, including credit reports,
        credit card bills, bank statements, and telephone bills.

     g) You must be screened for and/or participate in Reentry Court programming and must abide by all rules of the
        program. Participation may include referrals for substance abuse assessment and/or treatment and testing, mental
        health assessment and/or treatment, cognitive behavioral programs, medication compliance, and any other
        programming deemed appropriate to enhance your successful reintegration into the community. You must
        contribute to the cost of this program, as to substance abuse and/or mental health assessment/treatment, to the
        extent you are deemed capable by the United States Probation Officer.




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AO 245B (Rev. 11/16) Sheet 5 – Criminal Monetary Penalties
DEFENDANT:                       RICHARD ALONZO WOODS
CASE NUMBER:                     0:20-CR-00245-WMW-HB(1)

                                             CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments.
                     Assessment             Restitution               Fine       AVAA Assessment*                                      JVTA Assessment**
     TOTALS              $600.00            $97,309.79                 $.00                     $.00                                                $.00

  ☐        The determination of restitution is deferred until  An Amended Judgment in a Criminal Case (AO245C)
           will be entered after such determination.
  ☐        The defendant must make restitution (including community restitution) to the following payees in the amount
           listed below.

           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18
           U.S.C. § 3664(i), all nonfederal victims must be paid before the United States is paid.

           Restitution of $97,309.79 to:

                      BREMER BANK
                      $88,618.79

                      LAKE AREA BANK
                      $6,191.00

                      PROJECT SOZO
                      $2,500.00

                     Name and Address of Payee                                        ***Total Loss                Restitution               Priority or
                                                                                                                    Ordered                  Percentage

 Bremer Bank                                                                         $88,618.79                $88,618.79                 100%

 Lake Area Bank                                                                      $6,191.00                 $6,191.00                  100%

 Project Sozo                                                                        $2,500.00                 $2,500.00                  100%

 TOTALS:                                                                             $97,309.79                $97,309.79                 100%

                 Payments are to be made to the Clerk, U.S. District Court, for disbursement to the victim.


☐ Restitution amount ordered pursuant to plea agreement $
☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
       the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options may be subject to
       penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
☒      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
        ☒ the interest requirement is waived for the           ☐ fine                               ☒ restitution
       ☐       the interest requirement for the                           ☐ fine                                     ☐       restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September 13, 1994,
but before April 23, 1996.



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AO 245B (Rev. 11/16) Sheet 6 – Schedule of Payments
DEFENDANT:                    RICHARD ALONZO WOODS
CASE NUMBER:                  0:20-CR-00245-WMW-HB(1)
                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ☐ Lump sum payments of $                                              due immediately, balance due

      ☐ not later than                                          , or

      ☐ in accordance                     ☐      C,           ☐        D,         ☐     E, or        ☐      F below; or

B     ☐ Payment to begin immediately (may be combined with                        ☐     C,           ☐      D, or              ☐       F below); or

C     ☐ Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                                  (e.g., months or years), to commence                    (e.g., 30 or 60 days) after the date of this judgment; or

D     ☐ Payment in equal 20 (e.g., weekly, monthly, quarterly) installments of $                                over a period of
                               (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment
            to a term of supervision; or

E     ☐ Payment during the term of supervised release will commence within                       (e.g., 30 or 60 days) after release
            from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
            time; or

F     ☒ Special instructions regarding the payment of criminal monetary penalties:
            It is ordered that the Defendant must pay to the United States a special assessment totaling $600.00 for Counts 1, 2,
            3, 4, 5 and 8 , which is due immediately. Said special assessment mustl be paid to the Clerk, U.S. District Court.

            While the Defendant is incarcerated, the Defendant must make payments towards his restitution obligation as
            follows: If the Defendant is working UNICOR, the Defendant must make monthly payments of 50 percent of his
            earnings. If the Defendant is not working UNICOR, the Defendant must make quarterly payments of $25.

            After the Defendant is released from prison, the Defendant must begin making payments toward any remaining
            restitution obligation within 30 days of his release. The Defendant must make monthly payments of at least $100. If
            the probation officer determines that the Defendant is able to pay more than $100 per month, then the Defendant
            must make restitution payments in the amount directed by the probation officer.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
☒ Joint and Several
    Case Number
    Defendant and Co-Defendant Names                                       Joint and Several              Corresponding Payee,
    (including defendant number)                   Total Amount                 Amount                        if appropriate

    Tyrone Shadale Oaks (19-cr-0191)                      $6,191.00                       $6,191.00                           Lake Area Bank
    and Samuel Lamar Brantley (19-cr-0337)

    Samuel Lamar Brantley (19-cr-0337)                    $88,618.79                      $88,618.79                         Bremer Bank
    and Pierre Cornelius Steward (20-cr-0189)

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA Assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
                                                                              7
